Case 1:19-cr-00057-LO Document 458 Filed 09/08/20 Page 1 of 1 PagelD# 2945

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA

Alexandria Division
UNITED STATES OF AMERICA,

V. Criminal Case No.: 1:19CR57-011
SANG THANH HUYNH.

ORDER

For the reasons stated in court and for good cause, the defendant's [451] Motion to
Withdraw as Counsel is DENIED. Joseph Conte shall continue serving as counsel of record for

the defendant. If concerns arise later, the court will revisit this matter.

Entered this 8th day of September, 2020.

ASP

LIAM O'GRADY _}
UNITED STATES DISTRICT JUDGE

Alexandria, Virginia

cc: All counsel
